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1                                       UNITED STATES DISTRICT COURT

2                                           DISTRICT OF NEVADA

3                                                     ***
      BARBIE MORGAN,
4
                           Plaintiff,
5                                                        2:17-cv-00034-APG-VCF
      vs.                                                ORDER
6     BEST BUY CO., INC.,
7                          Defendant.
8

9           Before the Court are the Application and Order for Judgment Debtor Examination (ECF NO. 104)
10   and Notice of Withdrawal of Attorney for Plaintiff (ECF No. 105).
11          Accordingly,
12          IT IS HEREBY ORDERED that a video conference hearing on the Application and Order for
13   Judgment Debtor Examination (ECF NO. 104) and Notice of Withdrawal of Attorney for Plaintiff (ECF
14   No. 105) is scheduled for 10:00 AM, November 30, 2020.
15          IT IS FURTHER ORDERED that counsel/the parties must email Courtroom Administrator,
16   Tawnee Renfro at Tawnee_Renfro@nvd.uscourts.gov, with an email address to be used for the video
17   conference hearing by noon, November 25, 2020.
18          IT IS FURTHER ORDERED that Alan S. Levin, Esq. must appear by video conference at the
19   scheduled hearing on November 30, 2020, at 10:00 AM.
20          IT IS FURTHER ORDERED that Mr. Levin must make arrangements for Barbie Morgan to appear
21   by video conference at the scheduled hearing on November 30, 2020, at 10:00 AM.
22          Mr. Levin is advised to review LR IA 11-6 before the hearing.
23          IT IS ORDERED that the following Video Conference Instructions be adhered to as follows:
24          INSTRUCTIONS FOR THE VIDEO CONFERENCE
25
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1           Instructions to the scheduled hearings will be sent via email thirty (30) minutes prior to the hearing

2    to the participants email provided to the Court.

3           • Log on to the call ten (10) minutes prior to the hearing time.

4           • Mute your sound prior to entering the hearing.

5           • Do not talk over one another.

6           • State your name prior to speaking for the record.

7           • Do not have others in the video screen or moving in the background.

8           • No recording of the hearing.

9           • No forwarding of any video conference invitations.

10          • Unauthorized users on the video conference will be removed.

11          DATED this 5th day of November, 2020.
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12                                                                CAM FERENBACH
                                                                  UNITED STATES MAGISTRATE JUDGE
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